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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           DEL RIO DIVISION

United States of America,                  §
                                           §
                    Plaintiff,             §
                                           §
vs.                                        §    Cause No. DR-21-M-2264-(1)-CW
                                           §
Lucas Daniel Denney,                       §
                                           §
                    Defendant.             §

                  ORDER OF REMOVAL AND DETENTION

      In accordance with the Bail Reform Act of 1984, 18 U.S.C. 3142(f), and Rule

5(c)(2) of the Federal Rules of Criminal Procedure, a detention hearing was held in

conjunction with a removal hearing on December 17, 2021. Defendant was charged

by criminal complaint in the District of Columbia but arrested in the Western District

of Texas. Although it is anticipated by the undersigned that a formal Rule 5.1

preliminary hearing will be held in that charging district within the required fourteen

days, for the purposes of the Bail Reform Act the Court concludes that there is

sufficient probable cause to believe Defendant committed at least one of the charges

enumerated in the aforementioned criminal complaint filed on December 7, 2021.

The Court also finds that the following facts require the detention and removal of

Defendant to the District of Columbia.

                                        I.
                                 FINDINGS OF FACT

      Credible information in the form of the testimony of Special Agent James

Farris of the Federal Bureau of Investigations establishes that there is probable cause

to believe Defendant committed - at the very least - a violation of 18 U.S.C. §
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231(a)(3) as described in the complaint. Defendant was a participant in the

occupation of the United States Capital on January 6, 2021.

                                       II.
                                    REMOVAL

      For the purposes of removal to the District of Columbia, Special Agent Farris

made an in-court identification of Defendant as the second individual named in the

complaint. Furthermore, he testified that the complaint and affidavit were legitimate

documents sworn to and signed by him electronically.

                                      III.
                                   DETENTION

      With respect to detention, the Government met its burden of persuasion

through the testimony of Special Agent Farris who testified to the facts alleged in his

sworn affidavit supporting the aforementioned complaint. Defendant was arrested

on an arrest warrant in the Western District of Texas on December 13, 2021. As

noted above, the Court finds probable cause that at the very least, Defendant violated

18 U.S.C. § 231(a)(3) by attempting to impede officers of the Capitol Police from

engaging in the lawful performance of their official duties during a time of civil

disorder. And pursuant to 18 U.S.C. § 3142(f)(2)(B), the Court also finds by clear

and convincing evidence that Defendant poses a serious risk that he will further

attempt to obstruct justice or attempt to threaten, injure, or intimidate prospective

witnesses and that he thereby poses a danger to others. Accordingly, the Court

hereby ORDERS that Defendant be DETAINED without bond pending trial or

further orders in the District of Columbia.
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                                IV.
                  DIRECTIONS REGARDING DETENTION

        Defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the

extent practical, from persons awaiting or serving sentences or being held in custody

pending appeal. Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of any Court of the United States or on

request of an attorney for the Government, the person in charge of the corrections

facility shall deliver the Defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.

        A separate Order of Removal has been signed and entered on December 17,

2021.

        SIGNED and ENTERED on December 20, 2021.




                                      ___________________________________
                                      COLLIS WHITE
                                      UNITED STATES MAGISTRATE JUDGE
